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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA,                             :   Criminal No. 3:14CR00141(JBA)
                                                      :
v.                                                    :
                                                      :
BRANDEN HUERTAS                                       :   July 31, 2014
                                                      :
------------------------------------------------------x

                                        MOTION TO CONTINUE

        The defendant, Branden Huertas, hereby moves for a continuance of jury selection to the

Court’s November 2014 jury selection date, and an extension of all pre-trial deadlines in

accordance with that change.

        Mr. Huertas was arraigned on July 8, 2014. Mr. Huertas was ordered detained and

remains in custody at the Bridgeport Correctional Center. Mr. Huertas is charged with unlawful

possession of a firearm. Depending on certain details of his criminal record, he may be subject to

the enhanced penalties of the Armed Career Criminal Act. If he is not subject to ACCA, his

offense level under the Guidelines will also depend on the details of his prior convictions. The

parties are working to obtain the relevant materials from Mr. Huertas’ prior convictions, which

will be necessary to determine what the potential penalties would be if he were to plead guilty or

to be convicted at trial. In addition, the parties are awaiting the results of DNA testing on the

firearm alleged to have been possessed by Mr. Huertas; the results of this testing will have a

significant impact on the advice of the undersigned regarding Mr. Huertas’ options.

        Because Mr. Huertas is detained, the process of reviewing discovery, discussing the

applicable law, and analyzing the case is time-consuming and requires advance preparation.
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       For all of these reasons, counsel requires additional time within which to evaluate the

evidence and consult with the defendant. Accordingly, the defendant requests a continuance of

jury selection to the November 2014 date, with trial dates to follow thereafter.

       This is the defendant’s first motion to continue jury selection and trial. Counsel for the

government, Assistant United States Attorney Alina Reynolds, consents to the requested

continuance.

                                               Respectfully submitted,

                                               THE DEFENDANT,
                                               BRANDEN HUERTAS

                                               OFFICE OF THE FEDERAL DEFENDER



Dated: July 31, 2014                             /s/ Sarah A. L. Merriam
                                               Sarah A. L. Merriam
                                               Assistant Federal Defender
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 31, 2014, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.

                                                    /s/ Sarah A. L. Merriam
                                                       Sarah A. L. Merriam
